Case 1:20-cv-02658-CJN Document 15-22 Filed 09/23/20 Page 1 of 7




              EXHIBIT 16
9/23/2020             Case 1:20-cv-02658-CJN       Document
                                     Trump Demanding              15-22
                                                     Cut From Microsoft TikTokFiled  09/23/20
                                                                               Sale Akin to 'Extortion,'Page     2 of 7
                                                                                                        Critics Say


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   Trump Demanding Cut From Microsoft TikTok Sale Akin to
   'Extortion,' Critics Say
   BY JASON MURDOCK ON 8/4/20 AT 5:17 AM EDT




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https://www.newsweek.com/tiktok-microsoft-sale-president-donald-trump-extortion-1522597                                       1/14
9/23/2020             Case 1:20-cv-02658-CJN       Document
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                                                                               Sale Akin to 'Extortion,'Page     3 of 7
                                                                                                        Critics Say


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       TECH & SCIENCE                 TIKTOK             BAN             DONALD TRUMP           MICROSOFT




   P
   by critics.
                  resident Donald Trump's assertion that the U.S. should get a "big
                  percentage" cut from any sale of TikTok has been likened to "extortion"



   Questioned about the proposal at a briefing yesterday evening, Trump doubled
   down on an earlier statement that the U.S. Treasury should get a "substantial
   portion" of money from any future TikTok acquisition as it helped to facilitate the
   deal.

   "Whether it's Microsoft or somebody else, or it was the Chinese, what the price
   is, the United States should get a very large percentage of that price because
   we're making it possible," Trump said, before elaborating on the source of the
   cash.

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   He added: "Whatever the number is, it would come from the sale, which nobody
   else would be thinking about, but me. But that's the way I think. I think it's very
   fair."
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9/23/2020             Case 1:20-cv-02658-CJN       Document
                                     Trump Demanding              15-22
                                                     Cut From Microsoft TikTokFiled  09/23/20
                                                                               Sale Akin to 'Extortion,'Page     4 of 7
                                                                                                        Critics Say


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   While it's unclear what legal authority he will operate under, the president
   threatened to halt TikTok's operations in the U.S. because it is "too big, too
   invasive." Microsoft confirmed Sunday it is exploring a partial takeover of
   TikTok's operations.

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   Trump confirmed he had given Microsoft CEO Satya Nadella until September 15
   to hash out any business deal with the app. Political opponents say TikTok is a
   possible security risk, citing its ownership by a Beijing-based tech firm called
   ByteDance.

   "Maybe a deal is going to be made. It's a great asset. But it's not a great asset
   in the United States unless they have the approval of the United States," Trump
   said.

             Closest asteroid to pass Earth for a year will fly by Thursday after being discovere…

                                                                                                  3.9K




              Yes

              No

              I don't know

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                                                     Cut From Microsoft TikTokFiled  09/23/20
                                                                               Sale Akin to 'Extortion,'Page     5 of 7
                                                                                                        Critics Say


   "It'll close down on September 15 unless Microsoft or somebody else  is able to
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   buy it and work out a deal—an appropriate deal. So the Treasury of the—really,
   the Treasury... of the United States gets a lot of money. A lot of money. Okay?"
   he added.

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   The unconventional proposal about a Treasury kick-back alarmed
   commentators and media outlets, which noted it was similar to an extortion
   tactic; the White House letting the app operate in the region and reach a large
   U.S. audience—for a price.

   Bloomberg reported the U.S. government receiving a slice of a purchase
   involving firms that it does hold a stake would be "unprecedented based on
   recent history." Axios' Dan Primack said Trump's proposal was "skating very
   close to announcing extortion."

   The sentiment spilled onto Twitter. Sharing a story to his 62,000 followers, social
   media commentator Matt Navarra wrote: "This sounds a lot like extortion by
   Trump."

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   Michael R. Bromwich, former Department of Justice Inspector General, tweeted:
   "When extortion/bribery is a way of life... This is becoming a more overt RICO
   [Racketeer Influenced and Corrupt Organizations Act] enterprise with each
   passing day."

   Emeritus professor of government of the University of Manchester, Colin Talbot,
   noted: "Trump running the USA like some sort of criminal extortion racket?"

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9/23/2020             Case 1:20-cv-02658-CJN       Document
                                     Trump Demanding              15-22
                                                     Cut From Microsoft TikTokFiled  09/23/20
                                                                               Sale Akin to 'Extortion,'Page     6 of 7
                                                                                                        Critics Say


   Primack wrote: "The full Trump statements are even more troublingSUBSCRIBE
                                                                     than the
   initial tweet. He is literally saying part of the purchase price must go to Treasury
   because there's no deal w/out the WH approval. Don't see how that's anything
   but extortion."

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   In a blog post, Microsoft said it is "committed to acquiring TikTok subject to a
   complete security review and providing proper economic benefits to the United
   States, including the United States Treasury," potentially referencing the
   proposed agency payout.


                                      Michael R. Bromwich
                                      @mrbromwich

                            When extortion/bribery is a way of life...

                            WSJ News Alert: Trump Says U.S. Should Get Slice of
                            TikTok Sale Price
                            2:52 PM · Aug 3, 2020

                                  492             204 people are Tweeting about this



   One widely-shared tweet that attracted 1,000-plus shares, by body language
   expert and physician Dr. Jack Brown, suggested: "Trump is muscling TikTok to
   sell and he wants the Treasury Dept. to get a cut of the sale—these are
   extortion/mob tactics."

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   It remains unknown if the Microsoft-TikTok deal will go ahead. The tech giant
   said it will seek to buy the brand's operations in the U.S. Canada, Australia, and

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9/23/2020             Case 1:20-cv-02658-CJN       Document
                                     Trump Demanding              15-22
                                                     Cut From Microsoft TikTokFiled  09/23/20
                                                                               Sale Akin to 'Extortion,'Page     7 of 7
                                                                                                        Critics Say


   New Zealand, and pledged to ensure data of American users is transferred
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   and held domestically.

   According to Reuters, the negotiations are being overseen by the Committee on
   Foreign Investment in the United States (CFIUS). For now, it's also unclear what
   would happen if the September 15 deadline passes without a formal offer, and
   how the U.S. government plans to stop the app from being used by millions of
   people inside the country.



      President Donald Trump speaks during a news conference in the James Brady Press Brieﬁng Room of the White
      House on August 3, 2020 in Washington, DC.
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